        Case 1:15-cv-07433-LAP Document 1326 Filed 01/04/24 Page 1 of 1




                                         January 4, 2024

VIA ECF

The Honorable Loretta A. Preska
District Court Judge
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     Giuffre v. Maxwell, Case No. 15-cv-7433-LAP

Dear Judge Preska,

        Plaintiff is filing a revised version of docket entries 173-8, 180-1, 180-2, 235-10 pursuant
to the Court’s January 4, 2024, Order. See ECF No. 1324.

                                              Respectfully,

                                              /s/ Sigrid S. McCawley
                                              Sigrid S. McCawley


       cc: Counsel of Record (via ECF)
